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               ANDERSON EXHIBIT 3
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                          Lockwood, M.D., John M. - 30(b)(6)
00001
  1                UNITED STATES DISTRICT COURT
  2              FOR THE DISTRICT OF MASSACHUSETTS
  3   IN RE: PHARMACEUTICAL       )
  4   INDUSTRY AVERAGE WHOLESALE ) MDL NO. 1456
  5   PRICE LITIGATION            ) CIVIL ACTION:
  6   THIS DOCUMENT RELATES TO    ) 01-CV-12257-PBS
  7   U.S. ex rel. Ven-A-Care of ) Judge Patti B. Saris
  8   the Florida Keys, Inc. v. )
  9   Abbott Laboratories Inc., ) Chief Magistrate Judge
 10   No. 07-CV-11618-PBS         ) Marianne B. Bowler
 11
 12              VIDEOTAPED 30(b)(6) DEPOSITION OF
 13                    JOHN M. LOCKWOOD, M.D.
 14                           Volume I
 15       (Taken by Defendant Abbott Laboratories Inc.)
 16                        April 23, 2009
 17                          9:27 a.m.
 18                          Suite 800
 19                 1420 Peachtree Street, N.E.
 20                       Atlanta, Georgia
 21   Reported by:    F. Renee Finkley, RPR, CRR, CLR,
 22   CCR-B-2289
00002
  1                    APPEARANCES OF COUNSEL
  2
  3   On behalf of the Defendant
  4   Abbott Laboratories Inc.:
  5
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 12
 13   On behalf of Ven-A-Care of the
 14   Florida Keys, Inc., The Relator:
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00003
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  2
  3   Also Present:
  4        DERRICK JONES, Videographer
  5        MARGARET FOREST, Paralegal (Via Telephone)
  6        The Breen Law Firm
  7
  8
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 10
 11
 12
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 14
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 16
                                        Page 1
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  5        A.     Yes.
  6        Q.     And are you prepared to testify on
  7   Ven-A-Care's behalf about these topics?
  8        A.     I believe I am, although I think there
  9   were some objections about some of the topics,
 10   et cetera, but generally, yes.
 11        Q.     And during this deposition, when I say
 12   you, I may be referring to -- I will be referring to
 13   Ven-A-Care unless I indicate that I'm asking you
 14   personally. So those answers will be on behalf of
 15   Ven-A-Care. Is that -- you understand that?
 16        A.     Yes.
 17        Q.     And you please tell me if you're not able
 18   to answer on Ven-A-Care's behalf when I ask you a
 19   question. Is that fine?
 20        A.     Okay.
 21        Q.     Why did Ven-A-Care choose you to testify
 22   as the representative to this notice?
00010
  1               MR. BREEN: I'm going to just deposit a
  2        technical objection. To the extent that this
  3        requires that the witness reveal communications
  4        with counsel that are subject to the
  5        attorney/client privilege, I would instruct him
  6        not to answer, but to let us know if he feels
  7        there's an area he cannot respond completely on
  8        because of that.
  9               Aside from that, I think he can give you
 10        an answer to the question, cause it's a
 11        practical answer as opposed to a lot of
 12        legalisms that went into it.
 13               THE WITNESS: I think we decided that I
 14        might be most knowledgeable on the Ery topic.
 15        Q.     (By Mr. Berlin) And why is that? Why
 16   would you be more knowledgeable than Mr. Jones or
 17   Mr. Cobo or Mr. Bentley about these issues?
 18        A.     Because I spent a lot of time working and
 19   developing the concepts and ideas that went into the
 20   Ery case.
 21        Q.     How did it come to be that you were the
 22   one who spent the time working and developing on the
00011
  1   concepts for the Ery case?
  2        A.     I think I just took it on as a project for
  3   myself.
  4        Q.     And let's just be clear about one thing.
  5   You and I during the course of this deposition will
  6   sometimes refer to the Erythromycin drugs as Ery, and
  7   that's clear, right?
  8        A.     That would be fine, yes.
  9        Q.     When did you --
 10        A.     Well, to the extent we're talking about
 11   the oral Erythromycins for this case.
 12        Q.     Yes. Yes. That's correct. And again,
 13   that -- this case -- might as well, while we're on
 14   the subject, mark the -- I'm going to mark a copy of
 15   the complaint and its exhibits as Exhibit 2 for this
 16   deposition.
 17               (Exhibit Lockwood Ery 002 was
 18        marked for identification.)
 19        Q.     (By Mr. Berlin) Here you go,
 20   Dr. Lockwood. What I've handed you is Exhibit 2,
 21   which is a copy of the complaint in this case and the
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 22   exhibits to the complaint. Just so we're clear about
00012
  1   the -- and I'm going to get to the complaint in more
  2   detail later, but just as a preliminary issue, when
  3   we refer to Ery or the Erythromycins at issue in the
  4   case, those are the NDCs that are listed in paragraph
  5   33; is that correct?
  6        A.    Yes.
  7        Q.    And going back to your previous answer
  8   about why you're testifying here today, you said that
  9   you took on the job of spending time to work and
 10   develop the concepts for this case. When did you
 11   first embark upon that task?
 12        A.    I would say in particular, just to these
 13   drugs and this complaint, sometime in 2000.
 14        Q.    And we'll get to this in much greater
 15   detail later, but what led you to look at these
 16   particular drugs, the drugs listed in -- at least
 17   some of the drugs listed in paragraph 33 in 2000?
 18        A.    I was looking at some of our pricing data
 19   and I noticed a couple of things about these drugs.
 20   These were Abbot Pharmaceutical Products Division
 21   drugs, PPD drugs. It was known to me that Abbott PPD
 22   was primarily a brand company. I knew some of these
00013
  1   drugs are brands and I noticed discrepancies between
  2   the prices that we could buy these drugs from the
  3   wholesalers and the reported WAC prices; and I
  4   noticed that there was generally a relationship, a
  5   very consistent relationship between the normal
  6   Abbott brand drugs at Pharmaceutical Products
  7   Division, they're more typical brands, I guess.
  8              There was a very solid repeatable
  9   relationship between the wholesale -- the -- I guess
 10   I need to say this properly, the wholesale catalog or
 11   list price, whatever, the wholesaler's catalog price
 12   and the average wholesale price and the catalog
 13   wholesaler's price and the reported WAC.
 14              And for these particular drugs I found
 15   those relationships were not the same as the other
 16   brand drugs at PPD. And it stuck out -- it stuck out
 17   to me when looking at that. And I spent more time
 18   looking and understanding why that was the case and
 19   what was causing it and understanding that because I
 20   quite simply thought that there was perhaps a
 21   fraudulent misrepresentations in prices for these
 22   drugs.
00014
  1        Q.    And did you reach any sort -- any
  2   conclusion as to what was causing this discrepancy
  3   that you described?
  4        A.    Well, I think the most common or the -- I
  5   guess the thing that stood out most was that when I
  6   looked at Abbott's reported wholesale acquisition
  7   cost, their WAC price for these drugs, that that
  8   price in many circumstances was way above the price
  9   that I could buy this drug from McKesson at their --
 10   it's termed a lot of different things, they're
 11   wholesale catalog list price, their noncontract
 12   price, meaning the price that the wholesaler would
 13   sell that drug to you without a contract, just a
 14   simple relationship, wholesaler/pharmacy
 15   relationship, and that I could buy these drugs for
                                       Page 5
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 16   less than what Abbott was reporting that they were
 17   selling the drugs to the wholesalers for.
 18              And that was not the situation with
 19   Abbott's other brand drugs, meaning that the prices
 20   that I could buy -- I don't know. Let's take a drug
 21   like Biaxin, perhaps, or Depakote. The catalog list
 22   price, noncontract price for those drugs was very
00015
  1   close to, similar to, or identical to the reported
  2   wholesale acquisition cost on those drugs. But for
  3   these Ery drugs, that was not the case.
  4              And that led me to believe that, number
  5   one, the catalog price that I was buying it at, to my
  6   understanding in our conversations with McKesson, was
  7   slightly above their acquisition cost, 2 to
  8   5 percent, in that range. So it led me to believe
  9   that McKesson was actually buying the drug for less
 10   than what I was buying it for, meaning they were
 11   selling it to me with some markup.
 12              And -- and I saw that as a big problem,
 13   actually, with these drugs and that it looked like
 14   WAC fraud to me, meaning that they were -- that
 15   Abbott was not honestly reporting their wholesale
 16   acquisition cost on these drugs.
 17        Q.    I'd like just to back up to one thing you
 18   said so that we're clear for the jury who might be
 19   listening to this videotape. Do you understand that
 20   Abbott, prior to 2004, had a Hospital Products
 21   Division often referred to as HPD?
 22        A.    I am aware of that, yes.
00016
  1        Q.    And that what you refer to as PPD is a
  2   separate division that -- that is called the Pharmacy
  3   Products Division?
  4        A.    Yes, Pharmaceutical Products Division, I
  5   believe.
  6        Q.    Right. And when you refer to PPD, you
  7   were referring to that division within Abbott that,
  8   as you said, is the Pharmaceutical Product Division?
  9        A.    Yes.
 10        Q.    And that division sold mainly branded
 11   drugs?
 12        A.    Yes, sir.
 13        Q.    And when you say branded drugs, that
 14   refers to drugs that do not have generic equivalent
 15   competition in the marketplace at that time?
 16        A.    I wouldn't say that's my only definition
 17   of that. No, I wouldn't say that. I would say
 18   that -- that, in general, branded drugs, that may be
 19   a characteristic of a brand drug, but typically they
 20   are drugs that have been -- have gone through the FDA
 21   process on a -- and obtained an FDA approval and
 22   usually an assigned FDA number that is consistent
00017
  1   with an innovator-type drug, that they've done --
  2   that they've been approved on an NDA, a new drug
  3   application, as opposed to a abbreviated new drug
  4   application.
  5        Q.    In 2000 when you were looking at this, did
  6   Biaxin have generic equivalents that were competing
  7   in the marketplace?
  8        A.    I don't believe so, no.
  9        Q.    And did the Ery drugs at issue in this
                                       Page 6
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  8   Ery drugs, but in terms of the greater universe of
  9   pharmaceuticals, because we're talking about a front
 10   and backside printout that's four inches deep.
 11               You know, I don't know. The Econolink
 12   system contained prices on about 25,000
 13   pharmaceuticals, ballpark. And I'm assuming the
 14   Bergen printouts had at least that many, if not more.
 15   I haven't done a count to see exactly how many
 16   pharmaceuticals are listed in that.
 17               But it was interesting that these were
 18   wholesalers who were representing their -- the price
 19   that they sold the drug to pharmacies at under a
 20   column labeled average wholesale price. And it took
 21   me a little while to understand that that was going
 22   on because I had assumed that those were the reported
00040
  1   wholesale prices, but when we actually started
  2   looking at it, for many of the pharmaceuticals, they
  3   were not. So they were actually -- what I'm assuming
  4   is that wholesaler was saying this is the average
  5   price that we sell this drug for at wholesale, I
  6   assume. That's -- the column it was listed under was
  7   that.
  8         Q.    So from those documents that you just
  9   described, the Gulf Distributor's catalog and the
 10   Bergen catalogs, Ven-A-Care was not able to determine
 11   the spread between the purchase price available to
 12   Ven-A-Care and the reported AWP or reported WAC?
 13         A.    We would -- to do that comparison, we
 14   would have to look at our other pricing sources or
 15   the compendium basically, yes.
 16         Q.    And did -- and just to be clear, it's your
 17   testimony that Ven-A-Care did not, in fact, do that
 18   prior to 2000?
 19               MR. BREEN: Objection, form.
 20               THE WITNESS: Not to -- I mean to the best
 21         of Ven-A-Care's knowledge at this point in time,
 22         we're not aware that we did that, no.
00041
  1               MR. BREEN: Just for the record, you mean
  2         for the Ery drugs, right?
  3               THE WITNESS: For the Ery drugs, yes.
  4               MR. BERLIN: Yes.
  5               THE WITNESS: Yes, for the Ery drugs.
  6               MR. BREEN: I withdraw my objection.
  7         Q.    (By Mr. Berlin) Did Ven-A-Care have any
  8   single document -- so I'm drawing the distinction
  9   between taking a document and going off to the
 10   compendia and trying to do this process that you
 11   described is a -- let me just back up. That process
 12   you described is a bit laborious, right?
 13         A.    It would have been a little bit to -- to
 14   look at that. Certainly the electronic software,
 15   the -- made that process much easier. There's no
 16   question that -- that the electronic catalog made
 17   looking at that -- because part of the electronic
 18   catalog was an AWP column for the drug.
 19         Q.    And when was the first time that
 20   Ven-A-Care got an electronic catalog of any sort?
 21         A.    The Econolink system we got, as far as I
 22   can determine, it looks like about April of 2000,
00042
  1   somewhere in that range.
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  2        Q.    Prior to April of 2000 or whenever
  3   Ven-A-Care got the Econolink system, did it -- did
  4   Ven-A-Care have any one document, whether that's a
  5   hard copy document or a page on a database, that
  6   compared the price at which Ven-A-Care could purchase
  7   these Erythromycin drugs, or for any of the
  8   Erythromycin drugs, to the reported AWP or the
  9   reported WAC to show the spread between those
 10   numbers?
 11        A.    Right now I cannot think of any. If I
 12   come up with something in the next day or two, I
 13   will -- I'll let you know. I can't think of a single
 14   document right now that has that, except for the
 15   electronic catalog -- or catalogs actually.
 16        Q.    So the spread information, the difference
 17   between the -- what you've described as the actual
 18   price versus the reported AWP was not available to
 19   Ven-A-Care until April of 2000 without somewhat of a
 20   laborious process of comparing the two?
 21        A.    I would say that we didn't have that, no.
 22   That -- that doesn't mean that others didn't, but I'm
00043
  1   not aware that -- I'm not aware at this time that we
  2   had that, although, as I said, I -- if I find
  3   something, I'll let you know.
  4              MR. BERLIN: Why don't we take a break to
  5        change the videotape.
  6              THE VIDEOGRAPHER: We're off the record at
  7        10:26 a.m.
  8              (A recess was taken.)
  9              THE VIDEOGRAPHER: This is the beginning
 10        of tape number two. The time is 10:37 a.m. and
 11        we are back on the record.
 12              THE WITNESS: The only thing I might add
 13        is that we were not an early converter to the
 14        electronic catalog and we knew the electronic
 15        catalog had -- had been around for a while. And
 16        it was really a -- it was an old DOS-based
 17        program that was -- had been modified to work in
 18        the Windows environment in, you know, that time.
 19        So we knew that there had been electronic
 20        catalogs around for some time. Exactly how
 21        long, I'm not so sure that I know.
 22        Q.    (By Mr. Berlin) Do you have knowledge as
00044
  1   to approximately when the Econolink system became
  2   available to other pharmacies?
  3        A.    I think I'll need to look at that to give
  4   you an answer, and I may need to look at the catalogs
  5   and other things that we have.
  6        Q.    Why was Ven-A-Care, as you describe, a
  7   late adopter to that?
  8        A.    We had not been ordering a lot of drugs
  9   from McKesson, certainly, and McKesson was -- had
 10   been for many years -- I hate to pigeonhole them
 11   exactly and say they were a backup wholesaler for us
 12   because for certain things, they may have been a
 13   primary wholesaler for us at times. But I think they
 14   knew that they were not our only source for -- for
 15   drug pricing or -- and that even during the time
 16   period when Ven-A-Care was seeing lots of patients,
 17   they weren't our only primary wholesaler.
 18              They were -- I guess you could call them a
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 19   backup, but they -- when we needed oral drugs and
 20   that sort of thing, we typically would buy from them
 21   or Gulf Distributing. Whereas we might have direct
 22   contracts with some manufacturers, we might have
00045
  1   purchases from distributors. They're -- I'm just --
  2   I don't want to clear -- because I think their
  3   position as a wholesaler for us changed over time and
  4   literally from day-to-day as to whether if we were
  5   looking to buy oral drugs, there may have been
  6   periods of time when they -- we were mainly buying
  7   from them; but we may not have been buying all of our
  8   IV drugs from them. So I -- I hope I'm appropriately
  9   characterizing them.
 10               MR. BREEN: And actually I don't think
 11         that -- I would -- to the extent that you're
 12         asking the witness to give a 30(b)(6) answer as
 13         to generally Ven-A-Care's purchasing history and
 14         habits and what have you over time, I'd object
 15         because I don't think it's within the
 16         designations. But that said, I'm happy to have
 17         Mr. Jones or somebody give a more comprehensive
 18         answer, if you would like.
 19               MR. BERLIN: That said, I didn't ask him a
 20         question which actually led to that answer.
 21               MR. BREEN: Well, that may be part of the
 22         problem.
00046
  1               MR. BERLIN: So you're objecting that he's
  2         going -- I didn't ask anything that went to the
  3         purchasing history.
  4               MR. BREEN: Okay. At any rate, objection.
  5         Objection, nonresponsive.
  6               MR. BERLIN: I understand your point. And
  7         that's perfectly fine.
  8               MR. BREEN: If you need that information,
  9         we're going to have to get it from Mr. Jones.
 10               MR. BERLIN: That's fine. It's fine for
 11         at least now. Let's see how -- how we go.
 12         Q.    (By Mr. Berlin) So I'm not asking you to
 13   put a specific calendar date for this answer, but
 14   approximately when is the earliest that Ven-A-Care
 15   learned about the -- about any spread for any of the
 16   Erys listed in paragraph 33 in the complaint?
 17         A.    Well, I think, at least right now to the
 18   best of our knowledge, when I looked at this
 19   relationship in 2000 -- that doesn't mean that
 20   someone didn't see it at some earlier time and it
 21   didn't click or occur to them or -- or they
 22   understood the significance or fully understood it.
00047
  1   But I think right now to the -- you know, to the
  2   extent that we can answer that question, I would say
  3   2000.
  4         Q.    And this goes back to what I asked you
  5   earlier about, about -- about time and the task list.
  6   This wasn't a situation where you knew about this for
  7   a few years but you just didn't find the time to
  8   develop it; this was the situation where you really
  9   first learned about the spread in -- in 2000 on these
 10   Ery drugs? Is that your testimony?
 11         A.    In large degree. We -- you know, we're
 12   looking at a wide number of pharmaceuticals, and, you
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 13   know, that number is characterized in a number of
 14   different ways. Some people say 60,000 NDC numbers.
 15   Some people say 100,000 NDC numbers are out in the
 16   marketplace on a regular basis being looked at by
 17   people. Whatever that number is, a large number of
 18   drugs.
 19               Part of our -- my difficulty in this is
 20   that we lost invoices in -- I think it's 1999,
 21   Hurricane George, as we've testified about this
 22   before. The hurricane hit, the roof leaked, and the
00048
  1   ceiling fell down and water poured into an area that
  2   had boxes and boxes of those things. And they were
  3   sitting in water and ruined, so that my ability to go
  4   back and look at those invoices, receipts, all of
  5   those things is -- I don't have that ability.
  6               So we're relying on the memory of the
  7   people who, you know, worked at Ven-A-Care that time
  8   period when Ven-A-Care was ordering lots of drugs or
  9   more drugs from McKesson for -- for that information.
 10   Did somebody look at it in 1993 or '94 and realize
 11   there was something going on? Maybe. I don't have
 12   direct knowledge of that right now, but I also --
 13   unfortunately for me, I'm missing the paperwork that
 14   might help me do that.
 15        Q.     But you're not sitting here testifying
 16   that someone in Ven-A-Care knew about the spread
 17   information but you all sat on it for a year or a
 18   number of years and first started actively
 19   investigating it in 2000?
 20        A.     No, I'm not -- I'm not saying that. I'm
 21   also -- I don't know if somebody looked at an invoice
 22   and went, huh, gee, I wonder what that is. I
00049
  1   don't -- I don't know the answer to that and because
  2   of the lack of information. So at least at present,
  3   my best answer is the Econolink software led me to
  4   see the relationships that we're talking about.
  5        Q.     And after you saw the relationships, you
  6   brought that to the attention of the other owners of
  7   Ven-A-Care?
  8        A.     Yes, I did.
  9        Q.     And when you brought it to their
 10   attention, did they in any way express to you that
 11   they had already known about that?
 12        A.     Not directly, no.
 13        Q.     What do you mean not directly?
 14        A.     No, not that I recall. No one jumped up
 15   and said, oh, gee, I knew about that spread in 1993
 16   or '92 or '91 or whatever. No.
 17        Q.     Well, directly or indirectly, did they
 18   give you -- was there any indication that the
 19   co-owners -- and we've referred to them by name
 20   before, that the co-owners had known this prior to
 21   you bringing it to their attention?
 22        A.     No.
00050
  1        Q.     I did want to ask you a few questions
  2   about the lost invoices, and I just want to preface
  3   this by saying I don't mean to in any way demean the
  4   severity of a hurricane or the necessity to keep
  5   one's self safe during that. So I don't want you to
  6   interpret these questions in that way or casting
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00127
  1        recovered or --
  2              MR. BERLIN: Is this -- actually can he
  3        testify? Can I ask the question and have him
  4        testify?
  5              MR. BREEN: Yeah, you can do that if you
  6        want.
  7              MR. BERLIN: Okay.
  8              MR. BREEN: But he's just doing it based
  9        upon my -- my tally of these things, so --
 10              MR. BERLIN: I understand, but still I
 11        need the testimony from him rather than you. I
 12        know that you and I would have a ball deposing
 13        each other, but --
 14              MR. BREEN: That's true. One of these
 15        days maybe you'll get a chance and I'll get a
 16        chance. All right.
 17        Q.    (By Mr. Berlin) So my question for you,
 18   Dr. Lockwood, is how much money has Ven-A-Care
 19   received from these settlements in the AWP-related
 20   cases net of attorneys fees or costs?
 21        A.    I don't think I have that number, but we
 22   could get that number, I think. The number he gave
00128
  1   me was a number that we have, a recovery number based
  2   on Ven-A-Care activities for the government, which is
  3   975 million.
  4              MR. BREEN: That's not including the NMC
  5        case which was another 496 million.
  6              THE WITNESS: I reviewed my prior
  7        testimony on this, I think it was from December
  8        2007, where I estimated that. I thought
  9        personally I had somewhere around $10 million in
 10        pre-tax income as a result of the work that I'd
 11        done for and with Ven-A-Care and for the states
 12        and federal government from sometime in 1995 up
 13        through 2007.
 14              And we're now at 2009 and we've had some
 15        additional recoveries, and I would estimate that
 16        that probably brings the number up somewhere
 17        around $12 million in pre-tax dollars is what it
 18        looks like to me over --
 19        Q.    (By Mr. Berlin) For you personally?
 20        A.    Yes, over what is essentially almost a
 21   14-year period of time that I've worked on these
 22   cases.
00129
  1        Q.    And I know there are some other issues
  2   that you're going to look into and we'll just hold
  3   off on those for now.
  4        A.    Yes.
  5              MR. BERLIN: Okay. The next document that
  6        I'm going to ask the court reporter to mark as
  7        an exhibit is Ven-A-Care's Second Amended
  8        Answers to Interrogatories, and this, I believe,
  9        will be Exhibit 4.
 10              (Exhibit Lockwood Ery 004 was
 11        marked for identification.)
 12              MR. BERLIN: I'm going to be -- and I'm
 13        putting this in front of you just for your
 14        convenience. I'm going to be referring to
 15        interrogatory number six, which asks to identify
 16        and provide all facts known to Ven-A-Care and
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  3        Q.    For example, the last two on this -- on
  4   the page that you and I are looking at, 80475.
  5        A.    Yes, whereas they may have actually
  6   resulted in a change in the FUL if the -- if the
  7   McKesson cost price was used essentially as a WAC
  8   reported number, then there would have been changes.
  9   So this is an extremely conservative look at this
 10   issue.
 11        Q.    Does Ven-A-Care have any information as to
 12   which manufacturer's NDC was used to calculate the
 13   FULs that are -- that you were looking at here?
 14        A.    My understanding is that information is
 15   available from HCFA, that they make that available
 16   and have over the years made that available.
 17        Q.    And you're answering whether it's
 18   available. My question for you is did you have that
 19   information?
 20        A.    I think we looked at that information
 21   online. Whether -- whether I copied that information
 22   from them or not and have it in our files, I'm not
00221
  1   aware that I have it. I might have it, but I'm not
  2   aware right now that I have it.
  3        Q.    And you testified before that you were
  4   looking at the Redbook for the FUL, but just to be
  5   clear, the Redbook doesn't actually list the FUL,
  6   does it?
  7        A.    Yes, it does.
  8        Q.    Well, can you turn to page 80481 and show
  9   me where the FUL is?
 10        A.    It's blurred on this, but in the first
 11   column, far left, under Erythromycin, that blurred
 12   thing right there is HCFA, H-C-F-A, and it's the
 13   federal upper limit prices, so that Redbook -- you
 14   know, these should be better copies, I guess.
 15              But the one above it, actually, I think
 16   you might actually be able to read it even a little
 17   better there, I think. Well, maybe not. That may
 18   not be it, but there is a representation of the FUL
 19   for these.
 20        Q.    So -- I'm sorry, Dr. Lockwood, the actual
 21   number appearing under the column of AWP, is that the
 22   AWP -- do you understand that to be the AWP for those
00222
  1   Erythromycins or are those the FULs?
  2        A.    I believe these are the FULs. It's listed
  3   as HCFA. It's the FUL and then the -- the drugs
  4   listed under it are essentially the manufacturers and
  5   NDC numbers that are considered in that, or at least
  6   are listed in Redbook. I really -- I don't know that
  7   I should say they're considered in that, but they are
  8   drugs that are listed in Redbook. And my
  9   understanding is many times HCFA uses the First Data
 10   Bank information to determine the manufacturer that
 11   will set the FUL.
 12        Q.    How did Ven-A-Care obtain a copy of
 13   Econolink?
 14        A.    We made a purchase from McKesson in 2000,
 15   I think it was in March of 2000. As I recall, we
 16   called in the order and the person we talked to
 17   offered the electronic catalog to us, because you
 18   could place orders electronically instead of having
 19   to call someone and have them sit and listen to your
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 20   order.
 21        Q.    What was the order that Ven-A-Care placed
 22   in March of 2000?
00223
  1        A.    I think it was produced. I'm sure it was
  2   produced. It was an order for a variety of
  3   pharmaceuticals.
  4        Q.    And why was Ven-A-Care making that
  5   purchase at that time?
  6        A.    I think in large part we wanted to prove
  7   that we could actually buy the drugs that we were
  8   putting in our initial complaint in Boston, I think
  9   to prove that we could buy those drugs at the prices
 10   that were represented at McKesson, as well as, as I
 11   recall, we also purchased the drugs from a
 12   distributor A-N-D-A, ANDA, without a contract, and
 13   that many of the drugs we purchased from McKesson
 14   were purchased without a contract. They were list
 15   price purchases.
 16              And we thought that that was validation of
 17   our relationship with McKesson which we'd had over
 18   the years and showed that we were able to buy at the
 19   prices on those invoices. For instance, I think you
 20   asked me if we bought the Ery drugs and I'm not --
 21   and I gave you my answer, but I would say that our
 22   purchase in 2000 proves that we could buy drugs from
00224
  1   McKesson and/or others and that we could buy them,
  2   you know, for the type of prices that were seen on
  3   the invoices.
  4        Q.    And did you have to do anything in order
  5   to get the Econolink or --
  6        A.    I -- my recollection was they -- you know,
  7   it was something they would offer to you. We were
  8   toying with the idea of getting back more in the
  9   pharmacy business at that point in time as well. We
 10   were -- we had just had a settlement in a lawsuit and
 11   we were considering getting back into and opening a
 12   store front. And we talked about opening a retail
 13   pharmacy as well as IV pharmacy and talked in some
 14   detail about how we would do it, and -- and I don't
 15   know. We kicked it around for probably almost two
 16   years.
 17        Q.    And in the end decided not to do that?
 18        A.    Well, I guess that would be the short
 19   answer, yes. Yes.
 20        Q.    Did you have to sign any agreement with
 21   McKesson in order to get the Econolink software?
 22        A.    I don't think we -- I don't recall us
00225
  1   signing an agreement. I don't think we had one. We
  2   had an ongoing relationship with McKesson and I
  3   think -- I think they saw the software as their
  4   electronic catalog and they were moving away, as I
  5   said earlier, from paper catalogs to electronic
  6   catalogs or price lists, whatever you want to term
  7   that, perhaps electronic price list would be better.
  8              So -- and McKesson had, for most of the
  9   time period we dealt with them, been -- and I
 10   agonized over this a bit earlier, cause I hate to
 11   call them our backup wholesaler, but for periods of
 12   time they were and they weren't. So it was readily
 13   available.
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 14               My understanding is it was a natural
 15   progression, and I think I testified earlier that
 16   they actually quit producing paper catalog I believe
 17   after the 2003 catalog. So you couldn't buy a paper
 18   one if you wanted to. If you were going to buy any
 19   drugs from McKesson, even on a backup basis, it's my
 20   understanding you had to have the electronic price
 21   list. And as I said earlier, I think we were a late
 22   adopter.
00226
  1        Q.     And before that, when there were just
  2   paper catalogs, could you -- for example, could you
  3   go to a trade show and get the McKesson catalog?
  4        A.     Well, you could talk to the McKesson rep
  5   at a trade show and they would send you one,
  6   certainly. Yes. I mean, it's -- you had to be --
  7   they didn't hand them out to just anybody. You had
  8   to be a qualified purchaser and meet the requirements
  9   of being a qualified purchaser. And you typically
 10   had to give them your information or they had to have
 11   your information, your DEA number, phone number,
 12   address, who your pharmacist was, those sorts of
 13   things. I, you know --
 14        Q.     Could I have called up -- I mean, I know
 15   this calls for a bit of speculation, but based on
 16   your understanding of the circumstances and
 17   requirements, could I have called up McKesson and
 18   gotten a catalog?
 19        A.     Only if you were willing to represent that
 20   you were a licensed pharmacy illegally and send them
 21   your false DEA number and -- and misrepresent
 22   yourself; otherwise, as I said -- I think I just
00227
  1   testified to -- you would have to be a -- I guess I'm
  2   looking for the right word, but a qualified
  3   purchaser, that you had to be a pharmacy with, you
  4   know, an address and all of those things.
  5               And the McKesson rep usually came to Key
  6   West as I think I recall about once a month,
  7   ballpark. They'd walk by our office. They knew we
  8   were there and where we were. But no, you as an
  9   attorney, if you don't have a pharmacy license and
 10   all the other things that go along with that, you
 11   could not get the catalog.
 12        Q.     And at some point you provided a -- I may
 13   be confusing programs. I apologize if I am. But did
 14   you provide a copy of Econolink to the federal
 15   government?
 16        A.     Yes, sir, we did.
 17        Q.     When did you do that?
 18        A.     I may want to recheck the date, but it was
 19   either January 18th, 2001 or January 19th, 2001. We
 20   were in Boston doing a presentation to them and
 21   that's when we gave it to them. Yeah.
 22        Q.     And did you seek McKesson's permission to
00228
  1   do that prior to doing that?
  2        A.     No, we did not.
  3        Q.     Had you ever told McKesson that you had
  4   provided their Econolink software to someone else?
  5               MR. BREEN: Objection, form.
  6               THE WITNESS: I don't know if they learned
  7        of it. We never called them and told them that
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